                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION



REPRESENTATIVE JUSTIN JONES, in his
personal capacity,

 Plaintiff
                                                      Case No. 3:23-cv-01033
v.                                                    Judge Eli J. Richardson
                                                      Magistrate Judge Alistair E. Newbern
REPRESENTATIVE CAMERON SEXTON,
in his individual capacity and in his official
capacity as the Speaker of the Tennessee House
of Representatives; TAMMY LETZLER, in
her individual capacity and in her official
capacity as the Chief Clerk for the Tennessee
House of Representatives; BOBBY
TROTTER, in his individual capacity and in
his official capacity as the Chief Sergeant-at-
Arms for the Tennessee House of
Representatives; and DANIEL HICKS, in his
individual capacity and in his official capacity
as the Assistant Chief Clerk and
Parliamentarian for the Tennessee House of
Representatives,

Defendants.


             MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S
     OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS SUPPLEMENTAL AND
                         AMENDED COMPLAINT




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                                        INTRODUCTION

       The people of Tennessee’s 52nd Legislative District have elected Plaintiff, State

Representative Justin Jones, three times now to be their voice in the Tennessee Legislature. Yet,

Defendants, led by Defendant Sexton, have repeatedly sought to silence Plaintiff, in violation of

his rights under the U.S. and State Constitutions, to prevent him from dissenting on issues critical

to the people of District 52 and the entire State, including reasonable gun control. The violations

of Plaintiff’s rights included actions taken against him in April 2023, when Defendants

unlawfully expelled Plaintiff and two Democratic colleagues from the Tennessee House of

Representatives (the “House”). These violations have continued, and indeed have grown even

more aggressive and egregious, in House legislative sessions since that time, including

throughout the most recent 2024 term, when Defendants repeatedly and arbitrarily enforced the

House Rules of Order to silence Plaintiff for the content of his speech. Plaintiff’s recently filed

Supplemental and Amended Complaint (the “Complaint”), seeks relief from this Court for these

violations, including to protect Plaintiff from the ongoing and continuing violations in future

legislative sessions, including the 2025 session that begins on January 14.

       By this motion, Defendants seek to silence Plaintiff’s voice in this Court too, asking the

Court to deprive Plaintiff of his day in court and the chance to protect his rights. Defendants’

motion is wholly without merit. Plaintiff’s claims as pled readily satisfy the pleading standard

under Rule 12 and should be allowed to proceed. These claims are of great importance not only

to Plaintiff, but also to the voters who elected him; the Court should reject Defendants’ attempts

to keep Plaintiff’s claims from being heard.

                              COUNTERSTATEMENT OF FACTS

       This lawsuit challenges Defendants’ campaign to silence dissent in the Tennessee House

of Representatives—a campaign led by Defendant Sexton against Plaintiff. The immediate


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backdrop to this lawsuit began on March 27, 2023, when three 9-year-old students and three

adults were slaughtered at The Covenant School in Nashville, Tennessee by a mass shooter

wielding legally purchased guns. Complaint, Dkt. No. 52 at ¶ 22. In the days that followed,

Plaintiff used his platform to protest House leadership’s refusal to consider common sense gun

safety measures. Id. at ¶ 23. On March 30, a day after the State Senate announced that no gun-

related bills would be considered in 2023, id. at ¶ 26, Plaintiff again sought to bring attention to

this critical issue, including by raising a parliamentary inquiry regarding Defendant Sexton’s ban

of Plaintiff’s “Halt the Assault” lapel pin. Id. at ¶ 28. In retaliation for this inquiry, Defendants

silenced Plaintiff by turning off his microphone and voting machine. Id. at ¶¶ 28–30. Deprived

of any other means to dissent, Plaintiff, along with Representatives Justin Pearson and Gloria

Johnson, entered the House well to speak about and protest the House’s inaction for 16 minutes

before voluntarily and peacefully departing. See id. ¶¶ 31–33.

       Defendants, led by Defendant Sexton and his House Republican supermajority,

responded swiftly to punish Plaintiff for his speech, removing him from all of his committee

assignments, id. at ¶¶ 36–37, revoking his access to the Capitol and legislative garage, id. at ¶ 40,

and ultimately, on April 6, 2023, voting to expel Plaintiff and Representative Pearson from their

elected offices, id. at ¶¶ 41–53. Only Plaintiff and Representative Pearson, both of whom are

Black, were expelled; Representative Johnson, who is white, was not. See id. at ¶ 53. Plaintiff’s

expulsion was unprecedented: In the 200-plus year history of the Tennessee House, the body has

only expelled members on three occasions due to alleged criminal conduct. Id. at ¶ 42. No

member has ever been expelled for speaking on a matter of public concern. Id.

       Plaintiff was reinstated to his seat, first on temporarily on April 10, 2023, by vote of the

Metropolitan Council of Nashville and Davidson County, id. at ¶ 58, and then permanently by an




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overwhelming majority of the voters of the 52nd Legislative District in an August 2023 Special

Election, id. at ¶¶ 60–63. On August 21, 2023, the House reconvened for a Special Legislative

Session called by the Tennessee Governor to consider public and school safety, including gun

violence. Id. at ¶ 65. During the Special Session, Defendant Sexton implemented and enforced a

new package of procedural rules (the “2023 Special Session Rules,” see id. ¶ 66) that included

unconstitutional provisions giving himself expansive powers to control debate, including by

silencing any member for up to the full duration of the legislative session. Id. at ¶¶ 66–87. On

August 28, 2023, Defendant Sexton ruled Plaintiff out of order for raising plainly relevant points

of dissent during debate, silencing him for the remainder of the legislative day under the 2023

Special Session Rules. Id. at ¶¶ 80–87. Among other repercussions, this prevented Plaintiff

from bringing a motion for a vote of “no confidence” in Defendant Sexton’s leadership of the

House, which he had previewed to all of his House colleagues the day before. Id. at ¶ 84.

         Defendants’ abuse of power to silence Plaintiff continued throughout the 2024 legislative

session and appears likely to continue through the upcoming 2025 session. When the 2024

House session began on January 9, 2024, Defendants implemented similar House Rules (the

“2024 New Rules”), which enabled Defendant Sexton and his Republican supermajority to

silence Plaintiff without justification the very next day. 1 On January 11, 2024, Defendant Sexton

confirmed that he would not re-seat Plaintiff on the key Education Administration Committee, 2

continuing his and Defendant Letzler’s deprivation from April 2023 in retaliation to Plaintiff’s

protest on the House floor. Complaint at ¶ 37. Defendant Sexton continued to abuse his power



1
    Tenn. H. Sess., “House Floor Session – 1/10/2024,” House Floor Session.
2
 See Tara Suter, Formerly expelled Tennessee House lawmaker says he’s been stripped of
committee assignment, The Hill (Jan. 11, 2024), https://thehill.com/homenews/state-
watch/4403802-expelled-tennessee-house-lawmaker-committee/


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and target Plaintiff throughout the 2024 Session, singling him out from among all House

members and repeatedly silencing him and censuring him throughout the session to prevent him

from dissenting. Id at ¶¶ 88–115.

         Plaintiff filed this lawsuit against Defendants, in their official and individual capacities,

for completed and continuing violations of his constitutional rights under the First Amendment, 3

Due Process Clause, and Equal Protection Clause. See id. at ¶¶ 103–80. Plaintiff, who won

reelection to another two-year term in November 2024, seeks injunctive and declaratory relief to

prevent Defendants’ continuing constitutional violations, as well as nominal and consequential

damages.

                                         LEGAL STANDARD

         In assessing Defendants’ Motion to Dismiss, the court “must accept as true all material

allegations of the complaint, and must construe the complaint in favor of the complaining party.”

Cob Clearinghouse Corp. v. Aetna U.S. Healthcare, Inc., 362 F.3d 877, 880–81 (6th Cir. 2004)

(quoting Warth v. Seldin, 422 U.S. 490, 501 (1975)). The Court need only decide whether

Plaintiff properly alleged a basis for subject matter jurisdiction “tak[ing] the allegations in the

complaint as true.” Ohio Nat’l Life Ins. Co. v. United States, 922 F.2d 320, 325 (6th Cir. 1990).

         For Defendants’ immunity defenses, this Court should apply a heightened legal standard

at the Motion to Dismiss stage, specifically placing the burden on the moving entity to show it is

entitled to immunity, even taking all allegations in the complaint as true when evaluating the

claims of both absolute and qualified immunity. See e.g., Gragg v. Ky. Cabinet for Workplace




3
  Among these claims are facial and as-applied challenges to offending new House Rules.
Defendants’ pattern of conduct forecasts that they will adopt similar rules in future sessions,
including one that gavels in on January 14, 2025, absent intervention from this Court.


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Dev., 289 F.3d 958, 963 (6th Cir. 2002); Taylor v. Duncan, 720 F. Supp. 2d 945, 949 (E.D.

Tenn. 2010); Kennedy v. City of Cleveland, 797 F.2d 297, 299 (6th Cir. 1986).

                                            ARGUMENT

       Defendants’ motion rests on three grounds: (1) this Court lacks subject matter jurisdiction

under Fed. R. Civ. P. 12(b)(1) for lack of standing and due to State sovereign immunity, Motion

to Dismiss at 6–12; (2) Plaintiff’s claims are barred by purported personal immunity defenses, id.

at 12–16; and (3) the Complaint fails to state a claim on which relief can be granted under Fed.

R. Civ. P. 12(b)(6), id. at 16–23. As shown below, Defendants fail to satisfy their burden on

each issue, and their motion should be denied.

I.     This Court Has Subject Matter Jurisdiction Over Plaintiff’s Claims.

       Each of Defendants’ arguments that this Court lacks subject matter jurisdiction over

Plaintiff’s claims is entirely without merit.

       A.      Plaintiff Has Standing.

       Plaintiff sufficiently alleges the requisite “injury in fact, causation, and redressability” to

establish Article III standing. Durham v. Martin, 905 F.3d 432, 433 (6th Cir. 2018).

               1.      Plaintiff Satisfies the Injury-in-Fact Requirement.

       Defendants do not challenge that the Plaintiff satisfies the “injury in fact” requirement.

See Mot. to Dismiss at 7. Plaintiff alleges a litany of completed and ongoing injuries that are: (1)

concrete and particularized; and (2) actual or imminent, not just conjectural or hypothetical.

Kanuszewski v. Mich. Dep’t of Health & Hum. Servs., 927 F.3d 396, 405–06 (6th Cir. 2019); see

e.g., Complaint at ¶ 51 (expulsion from the House); ¶ 37 (removal from Plaintiff's Committees);

¶ 40, (restriction from the Capitol); ¶¶ 65–87 (targeted enforcement under both sets of new




                                                   5
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House Rules); ¶¶ 149–60, 178–81 (denial of Plaintiff's procedural due process rights); 4 and ¶¶ 9,

11, 51, 53, 59, 183–92 (intentional racial discrimination). 5 Defendants’ pattern of conduct,

including during the 2024 House session, demonstrates that Plaintiff’s alleged fear of future

violations, including the credible threat that Plaintiff will be targeted and silenced in the 2025

House Session, are concrete and far from conjectural or hypothetical.

                2.      Plaintiff’s Injuries Are “Fairly Traceable” to Defendants’ Actions.

         Plaintiff satisfies this requirement by alleging a “causal connection between the injury

and the conduct complained of,” as to each Defendant i.e., that his injury is “fairly traceable” to

each defendant and not “the result of the independent action of some third party[.]” Durham, 905

F.3d at 434 (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)). Contrary to

Defendants’ arguments, 6 Plaintiff alleges numerous violations of his constitutional rights that are

directly caused by Defendant Sexton. See Complaint at ¶ 2 (“Defendant Sexton shut down the

House proceedings entirely, forced the removal of Representative Jones . . . , and then led an

illegal and unconstitutional effort to expel [him].”); ¶ 36 (“Defendant Sexton removed [Plaintiff]

from all [his] committee assignments”); ¶ 45 (Defendant Sexton “[held] expulsion proceedings

against [Plaintiff]”); ¶ 66 (Defendant Sexton implemented the 2023 Special Session Rules); ¶ 79

(“Defendant Sexton used the August 2023 Special Session Rule 18 to violate Representative

Jones’ right to free speech.”); see also id. ¶¶ 3, 26–30, 34–38, 40, 49–51, 54–57. This

requirement is thus plainly met as to Defendant Sexton.




4
  Deprivations of procedural due process are “actionable for nominal damages without proof of
actual injury.” Carey v. Piphus, 435 U.S. 247, 266 (1978).
5
  Violations of the Equal Protection Clause are cognizable injuries. See Heckler v. Mathews, 465
U.S. 728, 739–40 (1984).
6
  See Mot. to Dismiss at 8.


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         Plaintiff’s injuries are traceable to the other Defendants as well. “Plaintiffs suing public

officials can satisfy the causation and redressability requirements of standing by demonstrating a

meaningful nexus between the defendant and the asserted injury. An official’s enforcement of

another’s policy falls into this category.” Durham, 905 F.3d at 434 (citation omitted). As

alleged, Defendant Letzler, as Clerk, removed Plaintiff from committee assignments and oversaw

the unlawful administration of both sets of House Rules. See Complaint at ¶¶ 12, 37–38, 149.

Defendant Hicks, as Assistant Clerk and Parliamentarian, triggered the unlawful enforcement of

both sets of House Rules. Id. at ¶¶ 14, 81, 93–94. Defendant Trotter, as Sergeant-at-Arms,

revoked Plaintiff’s access to the Capitol and legislative parking garage. Id. at ¶¶ 13, 40.

Plaintiff’s allegations have not “group[ed] all defendants together” as Defendants argue, so their

authorities are inapposite. Mot. to Dismiss at 8; see also Jefferson v. Fenech, No. 18-12811,

2020 WL 7353517, at *2 (E.D. Mich. Dec. 15, 2020) (allegations were not made against

defendants by name); Marcilis v. Twp. of Redford, 693 F.3d 589, 596–97 (6th Cir. 2012) (same).

                3.      Plaintiff Satisfies the Redressability Requirement.

         Plaintiff’s claims are redressable by this Court because it is “likely, as opposed to merely

speculative, that the injury will be redressed by a favorable decision[,]” granting his request for

injunctive relief, committee reinstatement, and declaratory judgments. 7 Lujan, 504 U.S. at 561;

see also Durham v. McWhorter, 789 F. App’x 533, 534 (6th Cir. 2020) (Plaintiffs may seek a

prospective injunction against state officials who have ‘some connection’ to an ongoing

constitutional violation.”); Durham, 905 F.3d at 433 (holding expelled Tennessee Representative



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  Plaintiff also seeks nominal and compensatory damages from Defendants in their individual
capacities, which would clearly redress completed injuries. See Complaint at ¶¶ 137, 170, 192,
and Prayer for Relief; see also Uzuegbunam v. Preczewski, 592 U.S. 279, 282-83 (2021)
(holding that a request for nominal damages satisfies the redressability element of Article II
standing).


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had standing to sue officials involved with implementing the consequences of his expulsion

when seeking these categories of relief). Indeed, given the continuing violations of his rights

during the 2024 legislative session, it is clear that relief from the Court will redress Plaintiff’s

injuries given the pattern of violations for the last two years. Plaintiff’s injuries will continue in

2025 and other, future sessions in the absence of the relief sought. See Complaint at ¶¶ 115, 133.

                4.      Plaintiff’s House Rules Claims Are Not Speculative.

         Defendants are wrong that Plaintiff’s House Rules claims are speculative and fail to

allege an actual claim or controversy. 8 Plaintiff’s claims based on Defendants’ targeted

enforcement of the rules, and in particular Rule 18, are live controversies because he seeks

nominal damages for Defendants’ completed constitutional violations. See Complaint at ¶¶ 65–

86, 131–37. Plaintiff’s claims seeking prospective injunctive and declaratory relief are also live,

and not speculative, controversies given Plaintiff’s expectation that Defendants will continue to

violate his constitutional rights in the 2025 and other future legislative sessions, an expectation

that was shown entirely reasonable by Defendants’ ongoing violations during the 2024 Session.

         B.     “Sovereign Immunity” Does Not Defeat this Court’s Jurisdiction.

         Defendants’ claim to sovereign immunity under the Eleventh Amendment also fails and

does not prevent this Court’s subject matter jurisdiction. As an initial matter, Defendants bear the

burden of showing their entitlement to the protection of sovereign immunity, see Gragg, 289

F.3d at 963, which at most only applies to Plaintiff’s official-capacity claims and not to




8
  Defendants’ suggestion that these claims may be “moot” is also baseless. See Mot. to Dismiss
at 9. A party asserting mootness “bears a heavy burden and must show that it is ‘absolutely clear
that the allegedly wrongful behavior could not reasonably be expected to recur.’” Doe v. Univ.
of Mich., 78 F.4th 929, 946 (6th Cir. 2023). Given Defendants’ ongoing attacks on Plaintiff’s
right to speak and otherwise express dissent on behalf of his constituents as alleged in the
Supplemental and Amended Complaint, Defendants cannot meet that heavy burden here.


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Plaintiff’s individual-capacity claims, see Kentucky v. Graham, 473 U.S. 159, 165–67 (1985)

(“The only immunities that can be claimed in an official-capacity action are forms of sovereign

immunity that the entity . . . may possess, such as the Eleventh Amendment.”).

        Defendants cannot meet their burden because under the well-established Ex parte Young

rule, Eleventh Amendment sovereign immunity does not apply to or protect against “claims for

prospective relief against state officials sued in their official capacity to prevent future federal

constitutional or statutory violations,” which is precisely what Plaintiff alleges here, Boler v.

Earley, 865 F.3d 391, 412 (6th Cir. 2017) (quoting S & M Brands, Inc. v. Cooper, 527 F.3d 500,

507 (6th Cir. 2008)). Because the Eleventh Amendment does not allow state officials to violate

federal rights, the Ex parte Young exception “permit[s] the federal courts to vindicate federal

rights and hold state officials responsible to ‘the supreme authority of the United States.’”

Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 105 (1984) (citation omitted).

        The Ex parte Young exception applies when, as here, “the complaint alleges an ongoing

violation of federal law and seeks relief properly characterized as prospective,” Verizon Md., Inc.

v. Public Serv. Comm’n of Md., 535 U.S. 635, 636 (2002); see also Ex parte Young, 209 U.S.

123, 157 (1908); Children’s Healthcare is a Legal Duty, Inc. v. Deters, 92 F.3d 1412, 1415 (6th

Cir. 1996). Plaintiff’s official capacity claims all fall directly within the Ex parte Young

exception because Plaintiff suffers an ongoing or threatened future violation of his constitutional

rights and is accordingly seeking prospective relief. See, e.g., Complaint at ¶¶ 79–87

(Defendants’ repeated use of 2023 Special Session Rules, including Rule 18, to violate Plaintiff’s

right to free speech); ¶¶ 88–109 (Defendants’ use of 2024 New Rules to continue violation of

Plaintiff’s right to free speech); ¶¶ 178–81 (Defendants’ ongoing denial of Plaintiff’s procedural

due process rights); and Prayer for Relief; see also Whole Woman’s Health v. Jackson, 595 U.S.




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30, 47–48 (2021). Indeed, Plaintiff’s need for prospective relief was demonstrated throughout

the 2024 legislative session as Plaintiff was targeted and improperly silenced on multiple

occasions. See, e.g., Complaint at ¶¶ 88, 92–100. Additionally, Plaintiff continues to be

excluded from the Education Administration Committee. Defendants have offered no indication

that their course of conduct will improve and, indeed, in light of Defendants’ repeated violations

during the 2024 session, Plaintiff fears and expects that Defendants will continue to improperly

silence him throughout the 2025 session as well and seeks relief for precisely this reason.

         Plaintiff’s claims do not “target[] the sovereign” or ask “this Court to assert control over

the internal operation of the Tennessee House of Representatives,” as Defendants assert. Mot. to

Dismiss at 11. To the contrary, Plaintiff specifically does not seek relief from the State of

Tennessee. Instead, Plaintiff asks this Court to uphold the supremacy of federal law by enjoining

Defendants, in their official capacity, from continuing to violate Plaintiff’s established,

constitutional rights—relief that is specifically authorized under these circumstances by Ex parte

Young and that courts in this Circuit have consistently granted in similar circumstances. See,

e.g., Kucinich v. Forbes, 432 F. Supp. 1101, 1117 (N.D. Ohio 1977); see also Bond v. Floyd, 385

U.S. 116 (1966) (reversing district court’s dismissal of State representative’s complaint seeking

to enjoin officers of the Georgia legislature and the Secretary of state based on allegations that

exclusion violated his rights under the First Amendment). 9



9
  The authorities cited by Defendants are inapposite and not to the contrary, including because
none of them involve valid claims under Ex parte Young. The first three cases cited do not
concern state sovereign immunity. They describe the boundaries of federal sovereign immunity
and characterize suits seeking relief that is categorically different than Plaintiff. See Dugan v.
Rank, 372 U.S. 609 (1963); Hawaii v. Gordon, 373 U.S. 57 (1963) (per curiam); and see Painter
v. Shalala, 97 F.3d 1351 (10th Cir. 1996). The remaining case cited is also inapplicable here, as
the ruling does not apply to federal constitutional challenges brought against state officers.
Pennhurst State Sch. & Hosp., 465 U.S. at 106.


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       Finally, Defendants are wrong that application of the Ex parte Young exception here

offends separation of powers principles. See Mot. to Dismiss at 10–12. The legislature’s status

as a co-equal branch of government is not a license to trample constitutional rights, and a federal

court may provide a remedy where they do so. Baker v. Carr, 369 U.S. 186 (1962). For

example, in Bond, the Supreme Court unanimously held that a State legislature could not limit

free speech rights by excluding an elected official. 385 U.S. 116. The rule applies equally to a

legislature’s power to enforce rules of “order and decorum,” whether real or, as here, pretextual,

in its proceedings: Such rules may not be used to suppress a legislator’s “expression merely

because public officials oppose the speaker’s views,” and federal courts should intercede when

they do. Ark. Educ. Television Comm’n v. Forbes, 523 U.S. 666, 678–79 (1998); see also United

States v. Ballin, 144 U.S. 1, 5 (1892) (Congress “may not by its rules ignore constitutional

restraints or violate fundamental rights.”). Here, Plaintiff’s constitutional rights have been

violated and continue to be threatened, and this Court is empowered to step in.

II.    Defendants’ Claimed Personal Immunities Do Not Defeat Plaintiff’s Claims.

       Defendants have also asserted two personal immunities, absolute legislative immunity

and qualified immunity, neither of which can dispose of Plaintiff’s individual capacity claims.

See Mot. to Dismiss at 12–17.

       A.      Defendants’ Are Not Entitled to Absolute Legislative Immunity.

       Legislative immunity shields state legislators from “civil liability for acts done within the

sphere of legislative activity.” Tenney v. Brandhove, 341 U.S. 367, 376 (1951). In broad

strokes, the common-law doctrine of legislative immunity shields state legislators from liability

for their legislative acts. See Supreme Ct. of Va. v. Consumers Union of the U.S., Inc., 446 U.S.

719, 732 (1980). “[T]he official seeking absolute immunity bears the burden of showing that

such immunity is justified for the function in question,” Burns v. Reed, 500 U.S. 478, 486


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(1991), and Defendants have failed to do so for two main reasons. First, Plaintiff’s claims do not

seek to hold Defendants liable for any “legislative act”; rather, the challenged conduct here

constitute administrative and enforcement actions that are merely “casually or incidentally

related to legislative affairs,” United States v. Brewster, 408 U.S. 501, 528 (1972), and thus fall

outside the scope of this immunity’s protection. Second, even if Defendants’ challenged acts

constitute “legislative activity,” legislative immunity does not apply to official-capacity claims.

       The availability of Defendants’ legislative immunity defense “turns on the nature of the

act” in question, see, e.g., Bogan v. Scott-Harris, 523 U.S. 44, 54 (1998), such that it applies only

where the challenged acts, when “stripped of all considerations of intent and motive,” were

legislative rather than administrative or executive. Anders v. Cuevas, 984 F.3d 1166, 1181 (6th

Cir. 2021). The Sixth Circuit looks to two factors: (1) whether a defendant’s actions were

“legislative in form., i.e., whether they were integral steps in the legislative process”; and (2)

whether a defendant’s actions were “legislative in substance, i.e., whether the actions bore all the

hallmarks of traditional legislation, including whether they reflected . . . discretionary,

policymaking decision[s] implicating the budgetary priorities of the government and the services

the government provides to its constituents.” Id. at 1181–82. Thus, legislative immunity can

apply to activities such as voting on bills and resolutions, holding and participating in committee

hearings, issuing subpoenas, circulating information to other legislators, making state budgetary

decisions, voting to remove a legislative member from a state legislature’s party caucus, or

determining how to distribute a party caucus’ resources. See Kent v. Ohio House of

Representatives Democratic Caucus, 33 F.4th 359, 366 (6th Cir. 2022).

       However, the immunity does not apply to activities by legislators or legislative aides “in

their enforcement capacities.” Consumers Union, 446 U.S. at 736; see also McAfee v.




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Cauthorne, No. 2:21CV00033, 2022 WL 2118982 at *5 (W.D. Va. June 13, 2022) (holding that

defendant municipal legislator was not entitled to a legislative immunity defense for legislative

decision to terminate an employee because that act was “administrative in nature”); Alia v.

Michigan Sup. Ct., 906 F.2d 1100, 1107 (6th Cir. 1990) (Wellford, J., dissenting) (analyzing

Consumers Union and concluding “to the extent the individual justices acted in a rulemaking

capacity, they are entitled to legislative immunity, but to the extent they acted in an enforcement

capacity, they are not entitled to claim legislative immunity”).

       Under this test, Defendants’ challenged acts constitute administrative and enforcement,

rather than legislative, conduct that are not protected by legislative immunity. This is

unquestionably the case for Defendant Letzler, who enforced Plaintiff’s removal from

committee; Defendant Hicks, who enforced 2023 Special Session Rule 18 to silence Plaintiff;

and Defendant Trotter, who enforced the order barring Plaintiff’s access to the Capitol. These

actors’ participation was solely in an enforcement capacity and thus not excused by legislative

immunity. See id. The answer is no different for Defendant Sexton, who, although obviously

empowered with legislative responsibilities as Speaker, is responsible for Plaintiff’s injuries from

his actions in an administrative capacity to enforce and to silence Plaintiff under 2023 Special

Session Rule 18. Indeed, Defendants admit as much, arguing that they “simply enforced” the

House rules. Mot. to Dismiss at 13.

       Defendants’ claim that this enforcement “falls in the heartland of legislative immunity,”

id., is wrong. Because Defendants violated Plaintiff’s rights in the course of administrative and

enforcement activities, the conduct is beyond legislative bounds and not protected by this

immunity. The challenged conduct falls squarely within the U.S. Supreme Court’s warning

against extending or using this immunity so as to privilege “illegal or unconstitutional conduct




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beyond that essential to foreclose executive control of legislative speech or debate and associated

matters such as voting and committee reports and proceedings.” Gravel v. United States, 408

U.S. 606, 620 (1972) (citing Kilbourn v. Thompson, 103 U.S. 168 (1880); Dombrowski v.

Eastland, 387 U.S. 82 (1967); Powell v. McCormack, 395 U.S. 486 (1969)). Accordingly, this

Court must not dismiss Plaintiff’s individual capacity claims under sovereign immunity.

       This Court should also reject Defendants’ argument that their asserted legislative

immunity defense applies to Plaintiff’s official-capacity claims. Defendants’ argument on this

issue is in direct defiance of an overwhelming body of controlling authority from both the U.S.

Supreme Court and the Sixth Circuit have repeatedly holding the opposite: Absolute legislative

immunity applies only to individual-capacity claims and does not protect defendants sued in their

official capacities. See Bd. of Cnty. Comm’rs, Wabaunsee Cnty., Kan. v. Umbehr, 518 U.S. 668,

677 n.* (1996) (“Because only claims against [defendants] in their official capacities are before

us, and because immunity from suit under § 1983 extends to public servants only in their

individual capacities, the legislative immunity claim is moot.” (emphasis in original; internal

citation omitted)); Benison v. Ross, 765 F.3d 649, 665 (6th Cir. 2014) (“[P]ersonal immunity

defenses, such as absolute immunity or qualified immunity, are not available to government

officials defending against suit in their official capacities.” (emphasis added)). 10 Defendants fail

to cite a single binding decision for this argument, instead, for example, citing a case without any

official capacity claims at all. See Kent v. Ohio House of Representatives Democratic Caucus,

33 F.4th 359, 364 (6th Cir. 2022), Dkt. No. 1 (filed Dec. 16, 2020) (seeking money damages and

injunctive relief from Ohio House of Representatives Democratic Caucus and Ohio State



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  See also Lewis v. Clarke, 581 U.S. 155, 162–63 (2017); Kentucky v. Graham, 473 U.S. 159,
167 (1985); Hall v. Tollett, 128 F.3d 418, 430 (6th Cir. 1997); Brandon v. Holt, 469 U.S. 464,
472–73 (1985); Leach v. Shelby Cnty. Sheriff, 891 F.2d 1241, 1245 (6th Cir. 1989).


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Representatives in only their individual capacities). Accordingly, Defendants have failed to

show how legislative immunity bars any of Plaintiff’s claims.

       B.      Defendants Are Not Entitled to Qualified Immunity.

       “Qualified immunity shields government officials from standing trial for civil liability in

their performance of discretionary functions, unless their actions violate clearly established

rights.” Kollaritsch v. Mich. State Univ. Bd. of Trs., 944 F.3d 613, 626 (6th Cir. 2019). A

defendant state official is not entitled to qualified immunity where: (1) the facts alleged

constitute a constitutional violation; and (2) the constitutional right was clearly established such

that a reasonable official would have known that their conduct constituted a violation. See

Pearson v. Callahan, 555 U.S. 223, 232 (2009). Both requirements are met here, where each of

the alleged violations involved clearly established constitutional rights. Because Defendants’

actions violate Plaintiff’s clearly established rights, qualified immunity is not available. 11

               1.      Plaintiff’s Clearly Established First Amendment Rights Were Violated.

       The right of individuals, including legislators in a state legislature, to speak on political or

governmental issues is one of the bedrock principles of American constitutional government.

See U.S. Const. amend. 1; see also Bond, 385 U.S. at 136. It is beyond dispute that Plaintiff’s

basic right of free speech, and his right to be free from punishment or retribution for expressing

his views on issues of political importance, is a clearly established constitutional principle that

every single Defendant did or reasonably should have known. Id.; see also Mills v. Alabama,

384 U.S. 214, 218 (1966) (the First Amendment was adopted in part to “protect the free




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  Additionally, qualified immunity is not dispositive because Plaintiffs’ official-capacity claims
seek prospective relief from Defendants in their official capacities, as to which the personal
defense of qualified immunity is inapplicable. See supra at Part I.B.


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discussion of governmental affairs”). This alone should be sufficient to defeat Defendants’

qualified immunity claim as to Plaintiff’s First Amendment claim.

        It is also clearly established that, although the legislatures may generally establish and

enforce rules of decorum, they may not rely on those rules to silence or otherwise punish

individual legislators for the content of their speech. In the leading case, Bond, for example, the

United States Supreme Court made clear that “[t]he manifest function of the First

Amendment . . . requires that legislators be given the widest latitude to express their views on

issues of policy.” Bond, 385 U.S. at 135-36; see also Mills, 384 U.S. at 218 (the First

Amendment was adopted in part to “protect the free discussion of governmental affairs”).

Defendants, and all government officials, have been on clear notice that the free exercise of

political speech is protected in the legislative context for at least a half-century. The Sixth

Circuit has also recognized that legislators have a clearly established right to First Amendment

expression and that threats of retaliation in response are not entitled to the protection of qualified

immunity. See Zilich v. Longo, 34 F.3d 359, 364 (6th Cir. 1994) (holding that “retaliation by

public officials against the exercise of First Amendment rights is itself a violation of the First

Amendment” and affirming that plaintiff city council member’s expression of political view was

the exercise of a clearly established First Amendment right and that defendant government

officials who threatened plaintiff in response were not entitled to qualified immunity).

        This right is clearly established, and based on Plaintiff’s allegations, which must be taken

as true for purposes of this motion, Defendants have plainly violated this right by seeking to

punish and retaliate against Plaintiff for exercising protected speech. See Siefert v. Hamilton

Cnty., 951 F.3d 753, 762 (6th Cir. 2020) (holding that, in a qualified immunity dispute, the court

must take “all the facts as true and reading all inferences in the plaintiff's favor.”); see, e.g.,



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Complaint at ¶¶ 65–87 (targeted enforcement under both sets of new House Rules to silence

Plaintiff). Accordingly, qualified immunity does not apply to protect Defendants from Plaintiff’s

First Amendment claims. At the very least, Plaintiff’s exercise of his First Amendment right to

free speech and Defendants’ retaliatory actions and threats in response thereto, as alleged in the

Amended Complaint, along with Defendants’ claim to qualified immunity, at this stage present

an issue of fact as to which Plaintiff is entitled to discovery.

                2.      Plaintiff’s Due Process Clause Rights Were Violated.

        Courts throughout the country, including in this Circuit, have recognized that health and

retirement benefits can constitute a protectable property right for Due Process purposes. See e.g.,

Durham v. Martin, 388 F. Supp. 3d 919 (M.D. Tenn. 2019) aff’d sub nom., Durham v.

McWhorter, 789 F. App’x 533 (6th Cir. 2020); see also Jackson v. Roslyn Bd. of Educ., 652 F.

Supp. 2d 332, 343 (E.D.N.Y. 2009) (“[I]n light of statutory protections afforded to retirees of the

State, the Court finds that [Plaintiff] has a constitutionally protected property interest in health

insurance benefits.”). Defendants misconstrue the narrow property interest that Plaintiff seeks to

protect by arguing that the Plaintiff only alleged a protected property interest in legislative office

or in committee assignments. Mot. to Dismiss at 21. The ousted legislator in Durham pursued

claims stemming from a denial of lifetime benefits, where the vesting schedule is critical to his

eligibility, and the Court found that the legislator “sufficiently alleged that he had a vested

property interest in the state health insurance benefit.” Durham, 388 F. Supp. 3d at 942. Here,

Plaintiff pursues claims related to (1) the denial of healthcare during his unconstitutional

expulsion and (2) the denial of seniority credit towards the House’s retirement plan. See

Complaint at ¶¶ 178–82. It would be nonsensical for the Plaintiff in Durham to be able to bring

due process claims for lifetime benefits that he had not yet earned if the Plaintiff here cannot

bring claims related to benefits he earned upon his election to the Tennessee Legislature’s 113th


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General Assembly. Defendants knew, or should have known, that stripping Plaintiff of his

benefits and earned credit toward future benefits without adequate due process protections

violated his constitutional rights.

                3.      Plaintiff’s Equal Protection Rights Were Violated.

        While legislative expulsions are exceedingly rare, and discriminatory expulsions are even

more so, the law clearly establishes Plaintiff’s constitutional right not to be subjected to racial

discrimination in the course of his governmental duties, as he was here. Courts typically give

legislatures wide latitude, including to govern themselves, but consistently affirm that they must

abide by the Fourteenth Amendment, even when exercising their authority in legislative contexts.

See e.g., Baker, 369 U.S. 186 (holding that the Equal Protection Clause of the Fourteenth

Amendment limits the authority of a State Legislature in partisan redistricting); Snowden v.

Hughes, 321 U.S. 1, 11 (1944) (“Where discrimination is sufficiently shown, the right to relief

under the equal protection clause is not diminished by the fact that the discrimination relates to

political rights”). Defendants certainly knew that the racial discrimination that Plaintiff alleges

in his complaint violated his constitutional rights, as would any reasonable legislator or

legislative staff member.

III.    Plaintiff Has Stated Claims For Which Relief May Be Granted.

        Construing the allegations liberally, assuming all alleged facts to be true, and drawing all

reasonable inferences in favor of the Plaintiff, as the Court must at this stage, see Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 556–57 (2007), Plaintiff’s claims are legally sufficient.

        A.      Plaintiff has Sufficiently Pled His First Amendment Claims.

        Plaintiff states two categories of claims under the First Amendment: those related to (1)

the retaliation against his protected speech and (2) the adoption of vague new House Rules




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(hereafter the “2023 Special Session Rules”) that chill his protected speech. On each claim,

Plaintiff has more than sufficiently pled facts that, entitle him to recover.

             1.    Retaliation

       The First Amendment Retaliation claims in Plaintiff’s Supplemental and Amended

Complaint are sufficient so long as Plaintiff alleges “that 1) he engaged in protected conduct, 2)

the defendant took an adverse action that would deter a person of ordinary firmness from

continuing to engage in that conduct, and 3) the adverse action was taken at least in part because

of the exercise of the protected conduct.’” Holzemer v. City of Memphis, 621 F.3d 512, 520 (6th

Cir. 2010) (quoting Siggers-El v. Barlow, 412 F.3d 693, 699 (6th Cir. 2005)). Plaintiff alleges at

least two violations of his First Amendment Rights that meet this standard.

       First, Plaintiff alleges that Defendants violated his First Amendment rights by retaliating

against him, including by removing him from his committee seats and then expelling him from

the House altogether on April 6, 2023, as punishment for his speech on March 30, 2023, urging

the House of Representatives to undertake and consider reasonable gun control measures. See

Complaint at ¶¶ 26, 32, 36–38, 40, 51. Second, Plaintiff alleges that Defendants again violated

his First Amendment rights on August 28, 2023, when they targeted and silenced him under the

Rules for the remainder of the legislative day in retaliation for raising on-topic points in dissent

on two bills before the House and to prevent him from bringing a vote of no confidence against

Defendant Sexton. See id. at ¶¶ 79–80, 82–85. Defendants thus took adverse action against

Plaintiff in response to his having engaged in protected speech conduct.

       Defendants’ meritless arguments to the contrary, at most, go to questions of proof that are

irrelevant at this pleading stage. First, Defendants argue incorrectly that Plaintiff’s free speech

rights are limited because he spoke in a legislative context. See Mot. to Dismiss at 17–19.




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While the legislative context may be “a unique setting” requiring unique considerations, see id.

at 16, legislators unquestionably enjoy broad First Amendment protections. See Bond, 385 U.S.

at 135–36 (“The manifest function of the First Amendment in a representative government

requires that legislators be given the widest latitude to express their views on issues of policy.”);

Kucinich, 432 F. Supp. at 1112 (“Surely a legislative body rates at least equal to a classroom as

to the right to express opinions and ideas”); Boquist v. Courtney, 32 F.4th 764, 774–75 (9th Cir.

2022) (elected officials may raise First Amendment retaliation claims stemming from speech

made in legislative contexts).

       Second, Defendants argue that Plaintiff has failed to “establish the requisite ‘causal

connection’” because the “discipline” Defendants meted out was a result of Plaintiff’s “lack of

decorum” not for the “content of his speech.” See Mot. to Dismiss at 18. Defendants thus

helpfully acknowledge that they took adverse actions in response to Plaintiff’s speech on each

occasion, and only argue that he was not punished as a result of the “content” of what he said.

Id. This is a factual dispute as to the reason why the adverse action was taken. 12 For purposes of

this motion, though, all that matters is that Plaintiff has alleged that the punishments Defendants

admit to having undertaken were as a result of his protected speech in demanding that the House

undertake a serious gun control discussion, see, e.g., Complaint at ¶¶ 125–139, and in raising

meaningful objection to Republican-sponsored bills that he believed did not make the children of



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   As Plaintiff alleges and will prove at trial, Defendants unquestionably punished him for what
he said, not because he violated “decorum.” Violations of decorum occur daily in all manner of
form and this was only the fourth expulsion proceeding in the 200-year history of the House.
Plaintiff instead was expelled for what he said, i.e., protesting Defendant Sexton’s refusal to
allow any consideration of meaningful ways to protect the children of Tennessee from gun
violence. Likewise, he was ruled “out of order” and silenced in August 2023 not because of any
violation of decorum but because he dissented and raised objections to bills that did too little to
protect the people of Tennessee.


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Tennessee safer, see, e.g., id. at ¶ 132. Taken as true and with all reasonable inferences resolved

in Plaintiff’s favor, these allegations are more than enough to entitle Plaintiff to relief.

              2.    2023 Special Session Rules

        Likewise, Plaintiff has sufficiently pled a claim seeking a declaratory judgment that the

Rules from the August 2023 Special Session and the 2024 Session Rules are unconstitutional as

written and as enforced, and violate Plaintiff’s rights under the First Amendment. See id. at ¶

132–34. “[W]here a vague statute ‘abut(s) upon sensitive areas of basic First Amendment

freedoms,’ it ‘operates to inhibit the exercise of (those) freedoms.’” Grayned v. City of Rockford,

408 U.S. 104, 109 (1972). “Uncertain meanings” within the New 2024 Rules require Plaintiff to

“steer far wider of the unlawful zone . . . than if the boundaries of the forbidden areas were

clearly marked.” Baggett v. Bullitt, 377 U.S. 360, 372 (1964). Based on facts as alleged by

Plaintiff, Defendants’ New 2024 Rules and 2023 Special Session Rules, and in particular Rules 2

and 18 of the New 2024 Rules, plainly chill speech and risk infringing on constitutionally

protected speech. For example, Rule 18 gives the Speaker unilateral power to rule members “out

of order” for statements deemed off topic but does not provide adequate notice of how such

determination is made. See Complaint at ¶ 142. And both rules provide for draconian

enforcement powers that allow Defendant Sexton to silence Plaintiff and other members for

disproportionately long and punitive periods of time for purported violations of “decorum” or for

being “out of order.” See id. at ¶¶ 68–78. Indeed, Defendant Sexton exercised the punitive

enforcement power under Rule 18 on August 28, 2023 to silence Plaintiff from speaking and to

prevent his bringing his “no confidence” vote to the floor by deeming him “out of order” for

making germane statement during the normal course of debate. Id. at ¶¶ 79–80, 82–83.




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       Moreover, although the Rules from the August 2023 Special Session were not

reimplemented in full for the 2024 House session, the 2024 New Rules implemented by

Defendant Sexton continue to have a chilling effect, including “decorum” and “out of order”

rules that allow individual members to be silenced for days at a time, and have already been used

by Defendant Sexton to silence Plaintiff when speaking on an germane issue before the House.

These facts, if proven, entitle Plaintiff to the declaratory relief that he seeks to prevent Defendant

Sexton from continuing to chill and deny Plaintiff and other members’ First Amendment rights,

and Plaintiff is thus entitled to proceed to discovery on this claim.

       B.      Plaintiff has Sufficiently Pled His Due Process Claims.

       “To establish a procedural due process claim pursuant to § 1983, plaintiffs must establish

three elements: (1) that they have a life, liberty, or property interest protected by the Due Process

Clause of the Fourteenth Amendment to the United States Constitution, (2) that they were

deprived of this protected interest within the meaning of the Due Process Clause, and (3) that the

state did not afford them adequate procedural rights prior to depriving them of their protected

interest.” Hahn v. Star Bank, 190 F.3d 708, 716 (6th Cir. 1999). Here, Plaintiff alleges a

protectable property right in his (1) health benefits during the period of his unconstitutional

expulsion and (2) seniority credit for the duration of his entire two-year term. Complaint at ¶ 4.

Plaintiff also alleges based on information and belief that he was deprived of these rights when

he was expelled from the House in retaliation for his protected speech activities. Id. at ¶ 51.

Plaintiff is entitled to discovery to determine the extent of the rights and interests of which he

was deprived and to prove these at trial.

       Finally, Defendants violated Plaintiff’s due process rights by refusing to afford him an

adequate (and, indeed, the required) process prior to his unprecedented expulsion. For example,

the expulsion resolution did not provide adequate notice for hearing. Id. at ¶ 45. House Rules


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were suspended to allow GOP members to play a deceptively edited video of Plaintiff's protest

without prior notice. Id. at ¶¶ 47–48. Members of the majority voted to end debate on the

expulsion before all members of the minority listed to speak were able to ask their questions. Id.

at ¶ 48. Plaintiff’s allegations, taken as true as the must be at this stage, thus satisfy each element

of a procedural due process claim and entitle him to relief if proven at trial. Dismissal under

Rule 12(b)(6) is thus inappropriate here.

     B.    Plaintiff has Sufficiently Plead His Equal Protection Claim.

       “Proof of racially discriminatory intent or purpose is required to show a violation of the

Equal Protection Clause.” Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252,

265 (1977). Plaintiffs need not show that “the challenged action rested solely on racially

discriminatory purposes” as “[r]arely can it be said that a legislature or administrative body

operating under a broad mandate made a decision motivated solely by a single concern[.]” Id.

       Plaintiff alleges that Defendants’ stated rationale for his disparate treatment, decorum,

serves merely as pretext for their discriminatory intent. Allegations that white legislators

involved in acts of “comparable seriousness” without facing the retribution endured by Plaintiff

is “[e]specially relevant” evidence of pretext. McDonnell Douglas Corp. v. Green, 411 U.S.

792, 804 (1973). As such, the Complaint shows that Defendants’ actions create a rational basis

for Plaintiff’s equal protection claim. For example, Representative Johnson was the sole white

legislator to join Plaintiff in protest, which Defendants consider to be in violation of House

decorum rules, and was also the sole legislator to be spared expulsion. Complaint at ¶ 53. 13


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  Even Plaintiff’s Republican colleagues agree that this fact creates a rational basis for
Plaintiff’s equal protection claim. One colleague told the legislator who cast the deciding vote to
spare Rep. Johnson from expulsion, “you brought racism into it.” Vivian Jones, ‘You hung us
out to dry’: Leaked audio shows hot tempers inside GOP caucus after expulsion vote, The
Tennessean (Apr. 14, 2023), https://www.tennessean.com/story/news/politics/2023/04/13/you-



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Plaintiff was the only individual disciplined for off-topic questions, even though all of his

comments were on-topic during the period where the 2023 Special Session Rules applied. See,

e.g., id. at ¶ 79. Further, Plaintiff was the only individual disciplined by Defendant Sexton for

recording on the House floor despite other white legislators doing the same. Id. at ¶¶ 98–100.

Defendant Sexton routinely ignored the other white legislators engaged in similar conduct as

Plaintiff throughout the 2023 and 2024 Sessions, and there are no obvious alternate explanations

for this discrepancy. See, e.g., id.

        Defendants make several mischaracterizations to claim that Plaintiff’s disparate treatment

is “readily explainable on grounds apart from race.” Mot. to Dismiss at 23 (quoting Tenn. State

Conf. of NAACP v. Lee, No. 3:23-cv-00832, 2024 WL 3896639, at *17 (M.D. Tenn. Aug. 21,

2024)). First, they argue that Plaintiff does not allege that any defendant who censured him on

April 27, 2023 spared Representative Freeman who made materially similar statements only

moments before. Mot. to Dismiss at 23. However, Defendant Sexton could have censured, or

refused to censure, both representatives after Plaintiff spoke given their successive nature and

Defendants do not even attempt to provide an alternative basis for Defendant Sexton’s decision.

        Next, Defendants argue that Representative Johnson was treated differently than Plaintiff

during censure proceedings because she did not use a bullhorn to amplify her protest. Mot. to

Dismiss at 24. This distinction fails, particularly given the totality of the protest, and cannot

readily explain the disparity. The fact that Defendant Sexton himself voted to expel both

representatives does not explain the disparity either. In fact, it undercuts Defendants’ argument

that Representative Johnson's conduct “differ[ed] in several material ways.”"




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vote/70113356007/.


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       Finally, Defendants argue that Plaintiff “fails to identify any similarly situated individuals

who were treated more favorably during the 2024 legislative session.” Mot. to Dismiss at 24.

The Complaint appropriately contrasts Plaintiff's treatment with “Republican, non-Black

colleagues,” which obviously meets the federal pleading standard. FRCP 8(a)(2); see also

Twombly, 550 U.S., at 555 (complaints must provide enough detail to “give the defendant fair

notice of what the . . . claim is and the grounds upon which it rests”) (citation omitted).

Defendants do not cite a single authority even suggesting that this constitutes a “deficienc[y] in

[Plaintiff’s] factual allegations.” Nor could they. Ultimately, “[d]etermining whether invidious

discriminatory purpose was a motivating factor demands a sensitive inquiry into such

circumstantial 14 and direct evidence of intent as may be available.” Vill. of Arlington Heights,

429 U.S. at 266. The significant need for discovery to determine discriminatory purpose makes

equal protection claims particularly inappropriate for 12(b)(6) dismissal.

                                          CONCLUSION

       For the foregoing reasons, this Court should deny Defendants’ Motion to Dismiss

Plaintiff’s Supplemental and Amended Complaint. Given the significant constitutional and legal

issues raised by Defendants’ motion and the gravity of Plaintiff's claims, and in case it might be

beneficial to the Court in deciding these issues, Plaintiff respectfully requests that the Court grant

oral argument on Defendants’ motion.




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   Plaintiff’s Amended Complaint alleges circumstantial evidence that supports a plausible
inference of discriminatory intent. It, for example, includes reference to a white legislator who
engaged in far more significant breaches of decorum than Plaintiff by sexually harassing an
intern and attempting to bribe her with cannabis products, which are illegal in the State of
Tennessee, but was not expelled from the House. Complaint at ¶ 43.


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                                 CERTIFICATE OF SERVICE


I hereby certify that a true and exact copy of the foregoing Memorandum Of Law In Support Of
Plaintiff’s Opposition to Defendants’ Motion To Dismiss has been served on the following
counsel via the Court’s CM/ECF email notification system on this the 30th day of December,
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